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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  LAWYERS’ COMMITTEE FOR CIVIL
  RIGHTS and NATIONAL WOMEN’S
  LAW CENTER.,

                  Plaintiffs,
                                                         Civil Action No. 18-0645 (EGS)
          v.

  OFFICE OF MANAGEMENT AND
  BUDGET,

                  Defendant.


                                        PROPOSED ORDER

        In light of the parties’ joint status report, it is hereby ORDERED that the parties shall

file a further joint status report discussing, inter alia, an update on the search results as a result of

the parties’ ongoing meet and confer discussions on narrowing and/or prioritizing the review, a

proposed processing schedule for the remainder of the records, and a proposed schedule for

further proceedings.



Date                                                    United States District Judge
